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11   MARTHA CABRERA
12
                          UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15

16
     MARTHA CABRERA,                           Case No.:
17

18
                  Plaintiff,                   COMPLAINT AND DEMAND FOR
           vs.                                 JURY TRIAL FOR VIOLATIONS
19                                             OF:
     CITIBANK, N.A.,
20
                                               1. THE TELEPHONE CONSUMER
21                Defendant.                      PROTECTION ACT
22                                                [47 U.S.C. § 227 et seq.]
23                                             2. THE ROSENTHAL FAIR DEBT
24                                                COLLECTION PRACTICES ACT
                                                  [CAL. CIV. CODE § 1788 et seq.]
25

26                                             3. RIGHT TO PRIVACY
                                                  [INTRUSION]
27

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                               COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                            COMPLAINT FOR DAMAGES
 2                                   INTRODUCTION
 3      1.     Martha Cabrera (hereinafter “Plaintiff”) brings this action to secure
 4   redress from unlawful credit and collection practices engaged in by Citibank, N.A.
 5   (hereinafter “Defendant”). Plaintiff alleges violations of the Telephone Consumer
 6
     Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., the Rosenthal Fair Debt

 7
     Collection Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788 et seq., and
     Plaintiff’s reasonable Right to Privacy. The TCPA is a federal statute that broadly
 8
     regulates the use of automated telephone equipment and delegates rulemaking
 9
     authority to the Federal Communications Commission (“FCC”). Among other
10
     things, the TCPA prohibits calls or texts to a consumer’s cellular telephone
11
     through the use of automatic dialers without the consumer’s prior express consent.
12
     The RFDCPA prohibits debt collectors from engaging in abusive, deceptive and
13
     unfair practices in connection with the collection of consumer debts.
14

15
                              VENUE AND JURISDICTION
16
        2.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as
17
     Plaintiff’s claims arise under the laws of the United States. Jurisdiction in this
18
     Court is also proper pursuant to 28 U.S.C. § 1367 as Plaintiff’s RFDCPA claim is
19
     so related to Plaintiff’s TCPA claim that they form part of the same case or
20   controversy under Article III of the United States Constitution.
21      3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
22   the acts and transactions alleged in this Complaint occurred here, Plaintiff resides
23   here, and Defendant transacts business here.
24

25
                                          PARTIES
        4.     Plaintiff Martha Cabrera is an individual who resides in Los Angeles,
26
     Los Angeles County, California 91352.
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1      5.    Plaintiff is a natural person obligated or allegedly obligated to pay a
 2   debt, and from whom a debt collector seeks to collect a consumer debt which is
 3   due and owing or alleged to be due and owing from such person. Thus, Plaintiff is
 4   a “debtor” as defined by the RFDCPA, CAL. CIV. CODE § 1788.2(h).
 5      6.    Defendant Citibank, N.A., is a federally-chartered bank, headquartered at
 6
     701 East 60th Street North, Sioux Falls, South Dakota 57104.

 7
        7.    Defendant regularly engages in the collection of debt by telephone in
     several states including, California. In the ordinary course of business, regularly,
 8
     on behalf of itself or others, Defendant engages in debt collection and thus,
 9
     Defendant is a "debt collector" as defined by the RFDCPA, CAL. CIV. CODE §
10
     1788.2(c).
11
        8.    The true names and capacities, whether individual, corporate, or in any
12
     other form, of Defendants DOES 1 through 10, inclusive, and each of them, are
13
     unknown to Plaintiff, who therefore sues them by such fictitious names. Plaintiff
14
     will seek leave to amend this Complaint to show the true names and capacities of
15
     DOES 1 through 10 should they be discovered.
16

17                             FACTUAL ALLEGATIONS
18      9.    Within one (1) year prior to the filing of this action, Defendant placed
19   collection calls to Plaintiff, seeking and demanding payment for an alleged debt
20   owed.
21      10.   The debt Defendant is attempting to collect is an alleged obligation of a
22   consumer to pay money arising out of a transaction in which the money, property,
23   insurance or services which are the subject of the transaction are primarily for
24
     personal, family, or household purposes, whether or not such obligation has been

25
     reduced to judgment. As such, it is a “debt” as defined by the FDCPA, 15 U.S.C.
     § 1692a(5), and a “consumer debt” as defined by the RFDCPA, Cal. Civ. Code §
26
     1788.2(f).
27

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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1      11.       Within one (1) year prior to the filing of this action, Defendant regularly
 2   and repeatedly called Plaintiff at, but not limited to, Plaintiff’s cellular telephone
 3   number (xxx) xxx-7015.
 4      12.       Upon information and belief, Defendant continuously and repeatedly
 5   called Plaintiff at Plaintiff’s cellular telephone number from telephone numbers:
 6
     (208) 822-2207, (469) 914-7211, (513) 573-8028, (513) 573-8031, (513) 573-

 7
     8038, (513) 573-8717, (513) 573-8739, (513) 754-9822, (513) 754-9837, (513)
     754-9841, (513) 754-9852, (513) 754-9863, (513) 754-9874, (520) 867-4972,
 8
     (727) 556-5492, (727) 556-5772, (727) 556-7300, (816) 420-4632, (859) 795-
 9
     2727, (877) 561-2272, (904) 525-8137, (904) 903-4050, and (904) 954-1207.
10
        13.       At all times relevant, Defendant owned, operated, and/or controlled
11
     telephone numbers: (208) 822-2207, (469) 914-7211, (513) 573-8028, (513) 573-
12
     8031, (513) 573-8038, (513) 573-8717, (513) 573-8739, (513) 754-9822, (513)
13
     754-9837, (513) 754-9841, (513) 754-9852, (513) 754-9863, (513) 754-9874,
14
     (520) 867-4972, (727) 556-5492, (727) 556-5772, (727) 556-7300, (816) 420-
15
     4632, (859) 795-2727, (877) 561-2272, (904) 525-8137, (904) 903-4050, and
16
     (904) 954-1207.
17
        14.       Within one (1) year prior to the filing of this action, Defendant caused
18
     Plaintiff’s telephone to ring repeatedly and continuously in order to annoy
19
     Plaintiff.
20      15.       Within one (1) year prior to the filing of this action, Defendant
21   communicated with Plaintiff with such frequency as to be unreasonable under the
22   circumstances and to constitute harassment.
23      16.       Defendant called Plaintiff approximately five hundred and fifty (550)
24   times beginning in or around June 2017 through the remainder of the year.
25      17.       On at least one occasion Defendant called Plaintiff at least fourteen (14)
26   times in a single day. For instance and without limitation, Defendant called
27   Plaintiff at least fourteen (14) times on July 12, 2017.
28


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                                COMPLAINT AND DEMAND FOR JURY TRIAL
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 1      18.     Defendant repeatedly called Plaintiff at least thirteen (13) times in a
 2   single day. For instance and without limitation, Defendant called Plaintiff at least
 3   thirteen (13) times on July 3, 2017, July 10, 2017, and July 19, 2017.
 4      19.     Defendant repeatedly called Plaintiff at least twelve (12) times in a
 5   single day. For instance and without limitation, Defendant called Plaintiff at least
 6
     twelve (12) times on June 19, 2017, June 22, 2017, and June 27, 2017.

 7
        20.     Defendant called Plaintiff despite Plaintiff repeatedly requesting the calls
     to stop.
 8
        21.     On July 27, 2017, at approximately 2:42 p.m., Defendant called Plaintiff
 9
     at Plaintiff’s cellular telephone number ending in 7015 from Defendant’s
10
     telephone number (513) 754-9837. Plaintiff answered Defendant’s telephone call
11
     and spoke with a representative of Defendant. Plaintiff requested that Defendant
12
     stop calling Plaintiff.
13
        22.     Subsequent to Plaintiff’s initial request on July 27, 2017, at
14
     approximately 2:42 p.m., Defendant called Plaintiff’s cellular telephone number
15
     ending in 7015 approximately one hundred (100) times.
16
        23.     On July 31, 2017, at approximately 8:13 a.m., Defendant called Plaintiff
17
     at Plaintiff’s cellular telephone number ending in 7015 from Defendant’s
18
     telephone number (469) 914-7211. Plaintiff again answered Defendant’s
19
     telephone call and spoke with a representative of Defendant. Plaintiff again
20   requested that Defendant cease contacting Plaintiff.
21      24.     Again on July 31, 2017, at approximately 10:54 a.m., Defendant called
22   Plaintiff at Plaintiff’s cellular telephone number ending in 7015 from Defendant’s
23   telephone number (816) 420-4632. Plaintiff again answered Defendant’s
24   telephone call and spoke with a representative of Defendant. Plaintiff again
25   requested that Defendant cease contacting Plaintiff.
26      25.     Again on August 1, 2017, at approximately 8:05 a.m., Defendant called
27   Plaintiff at Plaintiff’s cellular telephone number ending in 7015 from Defendant’s
28


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                               COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   telephone number (513) 754-9863. Plaintiff again answered Defendant’s
 2   telephone call and spoke with a representative of Defendant. Plaintiff again
 3   requested that Defendant cease contacting Plaintiff.
 4      26.     Again on August 2, 2017, at approximately 10:30 a.m., Defendant called
 5   Plaintiff at Plaintiff’s cellular telephone number ending in 7015 from Defendant’s
 6
     telephone number (904) 525-8137. Plaintiff again answered Defendant’s

 7
     telephone call and spoke with a representative of Defendant. Plaintiff again
     requested that Defendant cease contacting Plaintiff.
 8
        27.     Each call that Plaintiff answered from Defendant began with a click or
 9
     long pause before it was answered by a live operator, or was automatically
10
     dropped.
11
        28.     At all times relevant to this action, Defendant has been subject to, and
12
     required to abide by, the laws of the United States, which included the TCPA and
13
     its related regulations that are set forth at 47 C.F.R. § 64.1200 (“TCPA
14
     Regulations”), as well as the opinions, regulations and orders issued by the courts
15
     and the FCC implementing, interpreting and enforcing the TCPA and the TCPA
16
     regulations.
17
        29.     At all times relevant to this action, Defendant owned, operated and or
18
     controlled an “automatic telephone dialing system” as defined by TCPA 47 U.S.C.
19
     § 227(a)(1) that originated, routed and/or terminated telecommunications.
20      30.     Within four (4) years prior to the filing of this action, Defendant called
21   Plaintiff at Plaintiff’s cellular telephone number multiple times using an artificial
22   prerecorded voice or using equipment which has the capacity to store or produce
23   telephone numbers to be called, using random or sequential number generator and
24   to dial such numbers, also known as an “automatic telephone dialing system” as
25   defined by TCPA 47 U.S.C. § 227(a)(1)(A) and (B).
26

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                              COMPLAINT AND DEMAND FOR JURY TRIAL
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 1      31.    Defendant never received Plaintiff’s consent to call Plaintiff on
 2   Plaintiff’s cellular telephone using an “automatic telephone dialing system” or an
 3   “artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(1).
 4      32.    Assuming Defendant received Plaintiff’s consent to call Plaintiff on
 5   Plaintiff’s cellular telephone using an “automatic telephone dialing system” or an
 6
     “artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(1), this consent

 7
     was revoked on July 27, 2017 and many other times thereafter.
        33.    Defendant is not a tax exempt nonprofit organization.
 8
        34.    Defendant’s violation of the TCPA was willful. Defendant’s violation of
 9
     the TCPA was willful because Plaintiff repeatedly requested that Defendant cease
10
     calling Plaintiff.
11
        35.    Defendant’s violation of the TCPA was knowing. Defendant’s violation
12
     of the TCPA was knowing because Defendant has repeatedly been the subject of
13
     litigation due to its use of an automatic telephone dialing system.
14
        36.    Within four (4) years prior to the filing of this action, Defendant
15
     willfully and/or knowingly contacted Plaintiff no less than seventy-five (75) times
16
     at Plaintiff’s cellular telephone using an “automatic telephone dialing system” or
17
     using an “artificial or prerecorded voice” in violation of the TCPA.
18
        37.    The natural and probable consequences of Defendant’s conduct were to
19
     unjustly condemn and vilify Plaintiff for her non-payment of the debt she
20   allegedly owed.
21      38.    The natural and probable consequences of Defendant’s conduct were to
22   produce an unpleasant and/or hostile situation between Defendant and Plaintiff.
23      39.    Defendant’s conduct as described in detail above amounts to an unfair or
24   unconscionable means to collect or attempt to collect the alleged debt.
25      40.    Defendant’s conduct as described in detail above was done to harass,
26   oppress, or abuse Plaintiff.
27

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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1      41.   Defendant’s acts, as described above, were done intentionally with the
 2   purpose of coercing Plaintiff to pay the alleged debt.
 3      42. Plaintiff suffered extreme emotional distress and mental anguish including
 4   but not limited to sleepless nights, headaches and nervousness when his phone
 5   would ring.
 6

 7                              FIRST CAUSE OF ACTION
                   (Violations of the Telephone Consumer Protection Act,
 8
                                    47 U.S.C. § 227 et seq.)
 9
        43.   Plaintiff incorporates by reference all of the above paragraphs of this
10   Complaint as though fully stated herein.
11      44.   Defendant violated the TCPA. Defendant’s violations include, but are
12   not limited to the following:
13            a. Within four (4) years prior to the filing of this action, on multiple
14                 occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii)
15                 which states in pertinent part, “It shall be unlawful for any person
16                 within the United States . . . to make any call (other than a call made
17                 for emergency purposes or made with the prior express consent of the
18                 called party) using any automatic telephone dialing system or an
19                 artificial or prerecorded voice — to any telephone number assigned to
20                 a . . . cellular telephone service . . . or any service for which the called
21
                   party is charged for the call.”

22
              b. Within four (4) years prior to the filing of this action, on multiple
                   occasions, Defendant willfully and/or knowingly contacted Plaintiff at
23
                   Plaintiff’s cellular telephone using an artificial prerecorded voice or
24
                   an automatic telephone dialing system and as such, Defendant
25
                   knowing and/or willfully violated the TCPA.
26
        45.   As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is
27
     entitled to an award of five hundred dollars ($500.00) in statutory damages, for
28


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 1   each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
 2   that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled
 3   to an award of one thousand five hundred dollars ($1,500.00), for each and every
 4   violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 5      46.    Plaintiff is also entitled to seek injunctive relief prohibiting such conduct
 6
     in the future.

 7
                              SECOND CAUSE OF ACTION
 8            (Violation of the Rosenthal Fair Debt Collection Practices Act,
 9                          California Civil Code § 1788 et seq.)
10
        47.    Plaintiff incorporates by reference all of the above paragraphs of this

11
     Complaint as though fully stated herein.
        48.    Defendant violated the RFDCPA. Defendant’s violations include, but
12
     are not limited to, the following:
13
               a. Defendant violated CAL. CIV. CODE § 1788.11(d) by causing the
14
                      telephone to ring repeatedly or continuously to annoy the person
15
                      called;
16
               b. Defendant violated CAL. CIV. CODE § 1788.11(e) by communicating
17
                      with the Plaintiff with such frequency as to be unreasonable and to
18
                      constitute harassment; and
19
               c. Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
20
                      attempting to collect a consumer debt without complying with the
21
                      provisions of Sections 1692b to 1692j, inclusive, of Title 15 of the
22
                      United States Code (the Fair Debt Collection Practices Act):
23
                         i.     Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
24                              U.S.C. § 1692d by engaging in conduct, the natural
25                              consequence of which is to harass, oppress or abuse any
26                              person in connection with the collection of the alleged debt;
27

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 1                     ii.   Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
 2                           U.S.C. § 1692d(5) by causing the phone to ring or engaging
 3                           any person in telephone conversations repeatedly; and
 4                    iii.   Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
 5                           U.S.C. §1692f of the FDCPA by using unfair or
 6
                             unconscionable means in connection with the collection of an

 7
                             alleged debt.
         49.     As a result of the foregoing violations of the RFDCPA, Defendant is
 8
      liable to Plaintiff for actual damages, statutory damages, and attorney’s fees and
 9
      costs.
10

11
                                 THIRD CAUSE OF ACTION
12
                               (Violation of the Right to Privacy)
13       50.     Plaintiff incorporates by reference all of the above paragraphs of this
14    Complaint as though fully stated herein.
15       51.     Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon
16    seclusion as “[o]ne who intentionally intrudes… upon the solitude or seclusion of
17    another, or his private affairs or concerns, is subject to liability to the other for
18    invasion of privacy, if the intrusion would be highly offensive to a reasonable
19    person”.
20       52.     Defendant violated Plaintiff’s privacy. Defendant’s violations include,
21    but are not limited to, the following:
22               a. Defendant intentionally intruded upon Plaintiff’s solitude, seclusion
23                  or private affairs and concerns. Defendant’s intrusion would be
24
                    highly offensive to a reasonable person and unwarranted and

25
                    unjustified.
                 b. Defendant intentionally intruded, physically or otherwise, upon
26
                    Plaintiff’s solitude and seclusion by engaging in harassing phone
27

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                               COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                     calls in an attempt to collect on an alleged debt despite having
 2                     unequivocally revoked consent to be called.
 3                  c. The number and frequency of the telephone calls to Plaintiff by
 4                     Defendant constitute an intrusion on Plaintiff’s privacy and solitude.
 5                  d. Defendant’s conduct would be highly offensive to a reasonable
 6
                       person as Plaintiff received calls that often interrupted Plaintiff’s

 7
                       work and sleep schedule.
         53.        Defendant’s acts, as described above, were done intentionally with the
 8
      purpose of coercing Plaintiff to pay the alleged debt.
 9
         54.        As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is
10
      liable to Plaintiff for actual damages. If the Arbitrator finds that the conduct is
11
      found to be egregious, Plaintiff may recover punitive damages.
12

13                                     PRAYER FOR RELIEF
14             WHEREFORE, the Court should enter judgment in favor of Plaintiff and
15    against Defendant for:
16             A.      Declaratory judgment that Defendant violated the TCPA;
17             B.      Declaratory judgment that Defendant violated the RFDCPA;
18             C.      An injunction prohibiting Defendant from contacting Plaintiff on
19                     Plaintiff’s cellular telephone using an automated dialing system
20                     pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(A);
21             D.      Actual damages pursuant to the RFDCPA, CAL. CIV. CODE §
22                     1788.30(a);
23             E.      Statutory damages pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B)
24
                       and 47 U.S.C. § 227(b)(3)(C);

25
               F.      Statutory damages pursuant to the RFDCPA, CAL. CIV. CODE §
                       1788.30(b);
26
               G.      Punitive damages, as a result of Defendant’s malicious and oppressive
27
                       invasion of Plaintiff’s privacy, pursuant to CAL. CIV. CODE § 3294(a);
28


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 1           H.     Costs and reasonable attorney’s fees pursuant to the RFDCPA, CAL.
 2                  CIV. CODE § 1788.30(c);
 3           I.     Awarding Plaintiff any pre-judgment and post-judgment interest as
 4                  may be allowed under the law; and
 5           J.     For such other and further relief as the Court may deem just and
 6
                    proper.

 7

 8                              DEMAND FOR JURY TRIAL
 9           PLEASE TAKE NOTICE that Plaintiff, Martha Cabrera, demands trial by a
10    jury in this action.
11

12
      DATED: November 14, 2018                PRICE LAW GROUP, APC
13

14                                            By: /s/ Brian Brazier
                                              Brian J. Brazier, Esq. (SBN 245004)
15                                            Attorneys for Plaintiff,
16
                                              MARTHA CABRERA

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